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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                   Southern District of __________
                                                __________              Texas

                  United States of America                         )
                             v.                                    )
              Martin CASTANEDA-Calderon
                                                                   )      Case No.   4:25-mj-0159
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of        March 18, 2025 to March 19, 2025        in the county of               Harris             in the
     Southern          District of            Texas           , the defendant(s) violated:

            Code Section                                                     Offense Description
21 USC Section 846, and 841 a(1)               Knowingly, intentionally, and unlawfully possess with intent to distribute
and (b)1(A)                                    methamphetamine, and conspiracy to possess with intent to distribute
                                               methamphetamine, a Schedule II controlled substance.




         This criminal complaint is based on these
facts: See Attached Affidavit




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                   Heath Hawley, DEA Task Force Officer
                                                                                              Printed name and title

Sworn to and signed by telephone.


Date:        March 20, 2025
                                                                                                Judge’s signature

City and state:                         Houston, Texas                        Hon. Richard W. Bennett / U.S. Magistrate Judge
                                                                                              Printed name and title
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                                                                                 4:25-mj-0159



                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, Heath Hawley, being duly sworn telephonically, depose and state as follows:

1. I am an investigative or law enforcement officer within the meaning of Title 18, United States

   Code, Section 2510(7), that is, I am an officer of the United States authorized by law to conduct

   investigations of and make arrests for offenses enumerated in Title 18, United States Code,

   Section 2516. I have been a Task Force Officer for the Drug Enforcement Administration

   (DEA) since March 18, 2024, and I am currently assigned to the Houston Field Division in

   Houston, Texas. Prior to becoming a Task Force Officer, I was assigned to the Jersey Village

   Police Department as a Lieutenant supervising the Criminal Investigation Division and am still

   currently employed with the Jersey Village Police Department. I have been a Texas Peace

   Officer for approximately 15 years.

2. I have received courses of instruction from DEA relative to the investigative techniques and

   the conducting of drug and financial investigations. I have participated in and conducted

   investigations which have resulted in the arrests of individuals who have smuggled, received

   and distributed controlled substances, including marijuana, cocaine, methamphetamine,

   fentanyl and heroin, as well as the seizure of illegal drugs and proceeds of the sale of those

   illegal drugs. In addition, I have conducted, in connection with these and other cases, follow

   up investigations concerning the concealment of drug produced assets, money, bank records,

   etc., and the identification of drug conspirators using ledgers, telephone bills and records,

   photographs and bank checks, as related to drug trafficking. I have participated in

   investigations involving the ways in which drug traffickers conduct their business, including,




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   but not limited to, their methods of importing and distributing drugs, their use of cellular

   devices, and their use of numerical codes and code words to conduct their illegal transactions.

 Based upon my training, experience, and participation in narcotics trafficking, which have

   resulted from violations of the Title 21 and Title 18, I prepared this Affidavit in support of a

   criminal complaint charging Martin CASTANEDA-Calderon (“CASTANEDA”) and

   Inmar Antonio FLORES-Alvarenga (“FLORES”) with violating Title 21 U.S.C. § 841(a)(1),

   § 841 (b)(1)(A), possession with intent to distribute methamphetamine, and Title 21 U.S.C.

   § 846 conspiracy to distribute methamphetamine.

 Since this Affidavit is for the limited purpose of establishing probable cause to support the

   Criminal Complaint, it contains only a summary of relevant facts. I have not included every

   fact known to me concerning the entities, individuals, and the events described in this

   Affidavit. The statements made in this Affidavit are based in part on my personal observations

   and involvement in this investigation, and information provided to me by other law

   enforcement officers and databases.


                                     PROBABLE CAUSE

5. The United States, including the Drug Enforcement Administration (DEA), and Texas

   Department of Public Safety (DPS), is conducting a criminal investigation of the drug

   trafficking activities being conducted by Martin CASTANEDA-Calderon, AKA “PROFE,” in

   the Houston, Texas area.

6. In February 2025, agents began investigating a known methamphetamine conversion

   laboratory operator and source of supply, Martin CASTANEDA-Calderon AKA “PROFE.”

7. During this investigation, a methamphetamine conversion laboratory was identified at 9718

   Tavenor Lane, Houston, Texas 77075.


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8. On March 18, 2025, the Honorable Richard W. Bennett signed a federal search warrant for the

   property at 9718 Tavenor Lane, Houston, Texas 77075. The location is described as a having

   two red metal freestanding buildings on the east side of the property with overhead bay garage

   doors facing west. These buildings described run north and south and share a fence/property

   line with Pasadena ISD Thomas Hancock Elementary School.

9. Prior to the execution of the search warrant, surveillance was established on CASTANEDA.

   CASTANEDA and FLORES were observed driving to a nearby Wal-Mart. CASTANEDA and

   FLORES was observed walking out of Wal-Mart with several small Igloo coolers, inside of

   Wal-Mart bags. Based on my training and experience, I know that these small Igloo coolers

   are used to convert methamphetamine in solution to crystal form. Agents had found similar

   small Igloo coolers at another methamphetamine conversion lab that was used by

   CASTANEDA and his associates. When CASTANEDA and FLORES left Wal-Mart, they

   traveled back to the suspected methamphetamine conversion laboratory located at 9718

   Tavenor Lane, Houston Texas.

10. During the execution of the search warrant, CASTANEDA and FLORES were in the shop bay

   which housed the methamphetamine conversion laboratory. Inside of the conversion

   laboratory, multiple items of drug paraphernalia used to convert methamphetamine were

   located, along with approximately 66 kilograms of suspected methamphetamine, concealed

   inside of paint buckets. Igloo coolers inside of Wal-Mart bags matching the ones

   CASTANEDA and FLORES left Wal-Mart with were also located in the laboratory.

11. CASTANEDA and FLORES were transported to DEA Houston Office for an in-custody

   interview. FLORES refused to cooperate with agents. CASTANEDA was read his Miranda

   warnings and agreed to speak with agents. He signed the DEA 13 Form acknowledging his



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   understanding of his Miranda waiver. CASTANEDA told me he was sent to Houston, Texas

   to cook methamphetamine at the direction of a Mexico based drug trafficking organization.

   CASTANEDA said he traveled to Dallas, Texas from Houston, Texas to acquire the paint

   buckets and that he was aware the paints buckets contained methamphetamine. CASTANEDA

   said he was still in the process converting the methamphetamine from liquid form to the

   finalized crystalline substance, which is sold.

12. Based upon the above, I submit there is probable cause to believe that Martin CASTANEDA-

   Calderon and Inmar Antonio FLORES-Alvarenga knowingly and intentionally violated

   Title 21 U.S.C. § 841(a)(1) and § 841(b)(1)(A), possession with intent to distribute

   methamphetamine and Title 21 U.S.C. § 846 conspiracy to distribute methamphetamine



                                                     Respectfully submitted:


                                                        ________________
                                                         _               ____
                                                     ___________________________
                                                       ath Hawley
                                                     Heath Hawley, Task Force Officer
                                                     Drug Enforcement Administration




       Sworn and subscribed to by telephone on this 20th day of March 2025, and I hereby find

probable cause.

                                                     __________________________
                                                     Richard W. Bennett
                                                     United States Magistrate Judge




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